 Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 1 of 15 PageID# 534
                                                                                              FILED
                                                                                          IN OPEN COURT




                 IN THE UNITED STATES DISTRICT COURT FOR THI
                         EASTERN DISTRICT OF VIRGINIA        ?' CllRllLU.S.DiSTRICTCpUHr
                                                             '*"AL^bRIA.VlR6INIA

                                       Alexandria Division



 UNITED STATES OF AMERICA                              No. l:19-CR-253-2

                                                       The Honorable T.S. Ellis, III

 DARRYL JULIUS POLO,
                a/k/a djppimp,

                        Defendant.


                                   STATEMENT OF FACTS


       The United States and the defendant, Darryl Julius Polo, a/k/a djppimp, agree that the

allegations in the indictment and the following facts are true and correct, and that had this matter

proceeded to trial, the United States would have proven the following facts beyond a reasonable

doubt with admissible and credible evidence:


A.     The Defendant's Operation of iStreamltAll

       1.      From at least 2014 to September 2019,the defendant owned and operated

iStreamltAll(ISIA). Based in Las Vegas,Nevada,ISIA was a subscription-based service

permitting the unlawful streaming and downloading of copyrighted works without the

permission ofthe copyright owners. ISIA was accessible from various devices and platforms,

including computer operating systems, smartphones,tablets, smart televisions, video game

consoles, digital media players, set-top boxes, and web browsers.

       2.      ISIA had thousands of paid subscribers across the United States, including within

the Eastern District of Virginia. For example, a partial list ofISIA subscribers for a 27-month

period from September 4,2014, through December 5,2016,shows 18,551 successful credit and
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 2 of 15 PageID# 535
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 3 of 15 PageID# 536
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 4 of 15 PageID# 537
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 5 of 15 PageID# 538
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 6 of 15 PageID# 539
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 7 of 15 PageID# 540
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 8 of 15 PageID# 541
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 9 of 15 PageID# 542
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 10 of 15 PageID# 543
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 11 of 15 PageID# 544
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 12 of 15 PageID# 545
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 13 of 15 PageID# 546
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 14 of 15 PageID# 547
Case 1:19-cr-00253-TSE Document 133 Filed 12/12/19 Page 15 of 15 PageID# 548
